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                EXHIBIT 5
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                                                                      1090 Vermont Ave NW, Suite 750
SANDLER REIFF                                                                  Washington, DC 20005
     SANDLER REIFF LAMB                                                         www.sandlerreiff.com
ROSENSTEIN & BIRKENSTOCK, P.C.                                                       T: 202-479-1111
                                                                                     F: 202-479-1115




                                                     December 12, 2021

 Via E-Mail

 Daniel Ward, Esq.
 Ward & Berry PLLC
 1751 Pinnacle Drive
 Suite 900
 Tysons, VA 22102

        Re: Grassroots Analytics, LLC and True Blue Analytics

 Dear Mr. Ward:

      We serve as counsel for True Blue Analytics, which has referred to us your letters of
 December 10, 2021, to Eric Coats and Ben Bobo.

         We have reviewed this matter with our client, which has confirmed that Mr. Coats has
 never communicated with Kate Barton regarding the substance of her work at Grassroots
 Analytics; that Mr. Bobo has never communicated with Ms. Barton at all. that Ms. Barton never
 made any offer to sell or share any files or data of any kind, from Grassroots Analytics or anyone
 else, to anyone at True Blue Analytics; and that Ms. Barton has not shared or provided any files,
 data, or information of any kind to True Blue Analytics.

        Accordingly, True Blue Analytics is not in possession of any materials, data, files or
 information of any kind taken from Grassroots Analytics.

      If you have any questions or need further information concerning the above, or need to
 communicate further with True Blue Analytics, please contact me.

                                              Sincerely yours,




                                              Joseph E. Sandler
